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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :   CRIMINAL NO. 1:11-CR-151
                                           :
               v.                          :   (Chief Judge Conner)
                                           :
OLUFEMI ADIGUN,                            :
                                           :
                     Defendant             :

                                 MEMORANDUM

      The court sentenced defendant Olufemi Adigun (“Adigun”) to 168 months’

imprisonment after a jury convicted him of conspiracy to commit mail and wire

fraud, conspiracy to commit money laundering, unlawful monetary transactions,

and laundering of monetary instruments. (Doc. 268). Presently before the court is

Adigun’s pro se motion (Doc. 282) to vacate, set aside, or correct his sentence

pursuant to 28 U.S.C. § 2255. Adigun asserts that the prosecution violated Batson v.

Kentucky, 476 U.S. 79 (1986), and that he was denied effective assistance of counsel

in violation of the Sixth Amendment to the United States Constitution. For the

reasons that follow, the court will deny in part and defer in part Adigun’s motion.

I.    Factual Background & Procedural History1

      On April 27, 2011, a grand jury returned an indictment charging Adigun with

one count of conspiracy to commit mail fraud, wire fraud, and money laundering.

(Doc. 7). The court appointed Wendy J.F. Grella, Esquire to represent Adigun. (See



      1
         The above narrative summarizes the factual and procedural background of
this case as derived from the record. Citations to the record include the transcript
of trial proceedings (“[Date] Trial Tr.”) and the transcript of Adigun’s sentencing
hearing convened on June 30, 2014 (“Sent. Tr.”).
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Docs. 12, 17). A superseding indictment followed on August 24, 2011, which charged

Adigun with one count of conspiracy to commit mail and wire fraud (Count 1), one

count of mail fraud (Count 2), eight counts of wire fraud (Counts 3–10), twenty

counts of engaging in unlawful monetary transactions in criminally derived

property (Counts 11–30), and one count of conspiracy to commit money laundering

(Count 31). (Doc. 29). Shortly thereafter, Adigun retained private counsel, Matthew

Gover, Esquire (“Attorney Gover”) to represent him. (See Doc. 36). Adigun entered

a plea of not guilty as to all counts on September 27, 2011. (Doc. 48).

      Adigun’s first trial commenced on May 7, 2012, and ended on May 17, 2012.

At the close of the government’s case in chief, the court dismissed Count 14 on the

government’s motion and Counts 16, 19, and 26 on Adigun’s motion. (5/15/12 Trial

Tr. 4:25-6:25, 7:2-20). The jury ultimately acquitted Adigun of Counts 2 through 15,

17, and 30 but deadlocked on Counts 1, 18, 20 through 25, 27 through 29, and 31.

(Doc. 96). The court declared a mistrial on these counts. (5/17/12 Trial Tr. 27:10-16).

The government promptly filed a notice of intention to retry the remaining counts.

(Doc. 102).

      Attorney Gover withdrew as counsel to Adigun after trial. (Docs. 109, 115).

On September 12, 2012, the court appointed John Abom, Esquire (“trial counsel” or

“Attorney Abom”) to represent Adigun. (Docs. 115, 116). On December 12, 2012,

the government filed a second superseding indictment against Adigun and two

codefendants. (Doc. 134). The second superseding indictment charged Adigun with

one count of conspiracy to commit mail and wire fraud (Count 1), ten counts of

engaging in unlawful monetary transactions in criminally derived property (Counts


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18, 20–25, 27–29), one count of conspiracy to commit money laundering offenses

(Count 31), seven counts of engaging in unlawful monetary transactions over

$10,000 in criminally derived property (Counts 34–40), and five counts of money

laundering (Counts 51–55). (Id.)

      Adigun’s second jury trial commenced on July 15, 2013. Adigun was

represented by Attorney Abom throughout trial. During jury selection, Attorney

Abom raised an objection pursuant to Batson v. Kentucky, 476 U.S. 79 (1986). (See

7/15/13 Trial Tr. 96:3-14). The court heard argument and overruled Attorney

Abom’s objection. (See id. at 96:15-100:14). Adigun’s principal defense at trial was

that he did not knowingly defraud any of the victims. (See, e.g., 7/18/13 Trial Tr.

121:13-122:11). The court dismissed Counts 20, 21, 23 through 25, 27 through 29, 34,

and 35 on the government’s motion at the close of their case in chief. (Id. at 59:6-

21). On July 19, 2013, the jury convicted Adigun on the remaining 14 counts. (Doc.

200). Adigun thereafter filed a motion for new trial. (See Docs. 207, 221). Jonathan

W. Crisp, Esquire (“appellate counsel” or “Attorney Crisp”) replaced Attorney

Abom as counsel for the duration of proceedings. (See Docs. 223-25). The court

denied Adigun’s motion for new trial by memorandum opinion on February 19,

2014. United States v. Adigun, 998 F. Supp. 2d 356 (M.D. Pa. 2014) (Conner, C.J.).

      The United States Probation Office conducted a presentence investigation

and prepared a presentence report (“PSR”) for Adigun. The PSR calculated

Adigun’s base offense level as 33, which included a two-level increase pursuant to

Section 2B1.1(b)(10) of the United States Sentencing Guidelines (“Guidelines”)

because a substantial part of the fraudulent scheme was committed outside the


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United States and the offense involved sophisticated means. (PSR ¶ 22). Adigun’s

offense level was further increased by two levels under Section 2S1.1(b)(2)(B)

because he was convicted pursuant to 18 U.S.C. § 1956. (Id. ¶ 23). A two-level

enhancement was applied under Section 2S1.1(b)(3) because the offense involved

sophisticated laundering. (Id. ¶ 24). The PSR calculated Adigun’s total offense level

at 37 and a Guidelines range of 210 to 262 months’ imprisonment. (Id. ¶ 52).

       At sentencing, the government moved for a two-level enhancement for

obstruction of justice. (Sent. Tr. 3:21-24; see also PSR ¶ 27). Attorney Crisp

objected to the obstruction of justice enhancement, (Sent. Tr. 71-9-77:15), the two-

level sophisticated means enhancement, (see id. at 86:7-14), and the sophisticated

money laundering enhancement, (id. at 87:2-4). Attorney Crisp also requested a

downward departure pursuant to Section 3B1.2 based on Adigun’s mitigating role.

(Id. at 3:19-21, see also Doc. 257).

       The court applied the obstruction of justice enhancement, (Sent. Tr. 82:21-

86:5), and overruled Attorney Crisp’s objections to the sophistication

enhancements, (id. at 86:6-88:24). The court found Adigun’s total offense level to be

39 and the corresponding Guidelines range to be 262 to 327 months. (Id. at 89:1-9).

The court denied Attorney Crisp’s request for downward departure. (Id. at 90:29-

92:7). After considering the salient 18 U.S.C. § 3553(a) factors, the court varied

downward to impose a sentence of 168 months’ imprisonment. (Id. at 104:14-

108:12).

       Adigun appealed the court’s denial of his motion for new trial to the United

States Court of Appeals for the Third Circuit on July 7, 2014. (Doc. 269). On May 7,


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2015, the Third Circuit affirmed Adigun’s conviction. United States v. Adigun, 609

F. App’x 718 (3d Cir. 2015) (nonprecedential). Adigun timely filed the instant

motion (Doc. 282) to vacate, set aside, or correct his sentence pursuant to 28 U.S.C.

§ 2255. Adigun filed the motion pro se but indicates therein that he received

“assistance . . . with respect to its drafting” from an attorney. (See id. at 13 n.1).

The motion is fully briefed and ripe for disposition.

II.     Legal Standard

        Under 28 U.S.C. § 2255, a federal prisoner may move the sentencing court to

vacate, set aside, or correct the prisoner’s sentence. 28 U.S.C. § 2255. Courts may

afford relief under Section 2255 on a number of grounds including, inter alia, “that

the sentence was imposed in violation of the Constitution or the laws of the United

States.” 28 U.S.C. § 2255(a); see also 28 U.S.C. § 2255 Rule 1(a). The statute

provides that, as a remedy for an unlawfully-imposed sentence, “the court shall

vacate and set the judgment aside and shall discharge the prisoner or resentence

him or grant a new trial or correct the sentence as may appear appropriate.” 28

U.S.C. § 2255(b). The court accepts the truth of the defendant’s allegations when

reviewing a Section 2255 motion unless those allegations are “clearly frivolous

based on the existing record.” United States v. Booth, 432 F.3d 542, 545 (3d Cir.

2005). A court is required to hold an evidentiary hearing when the motion “allege[s]

any facts warranting § 2255 relief that are not clearly resolved by the record.”

United States v. Tolliver, 800 F.3d 138, 141 (3d Cir. 2015) (quoting Booth, 432 F.3d at

546).




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III.   Discussion

       Adigun advances two theories in support of his request for Section 2255

relief. First, Adigun reiterates the contention raised at trial and on appeal that the

government impermissibly struck an African American juror based on her race.

Second, Adigun remonstrates that his trial and appellate counsel were ineffective.

The court considers these issues seriatim.

       A.       Batson Violation

       Adigun argues that the government exercised a peremptory challenge to

strike the only African American on the jury panel based on race in violation of

Batson v. Kentucky, 476 U.S. 79 (1986). (See Doc. 282 at 17; see also Doc. 291 at 9-

11). The Third Circuit reviewed and rejected this exact argument on direct appeal

from Adigun’s post-judgment motion for a new trial. See Adigun, 609 F. App’x at

720-21. A Section 2255 motion may not be used to relitigate questions that were

raised and resolved on direct appeal. See United States v. Travillion, 759 F.3d 281,

288 (3d Cir. 2014); United States v. DeRewal, 10 F.3d 100, 105 n.4 (3d Cir. 1993). The

court will deny Adigun’s motion on this ground.2


       2
        Adigun cites to the Supreme Court’s recent decision in Foster v. Chatman,
578 U.S. __, 136 S. Ct. 1737 (2016), in support of his renewed Batson entreaty. (See
Doc. 291 at 9-11). In Foster, the Supreme Court resolved that a prosecutor’s notes
from voir dire, which consistently pointed to race as the basis for striking jurors,
adequately evinced purposeful discrimination of the type prohibited by Batson. See
Foster, 136 S. Ct. at 1754-55. It is unclear whether Adigun asserts that his trial or
appellate counsel were ineffective for failing to seek hypothetical prosecutor notes
based on Chatman. However, Adigun effectively concedes that he does not know
whether such notes exist sub judice, (see Doc. 291 at 9-11), and a Section 2255
movant must offer more than speculation to warrant an evidentiary hearing, see
Zettlemoyer v. Fulcomer, 923 F.2d 284, 301 (3d Cir. 1991).


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      B.     Ineffective Assistance of Counsel

      A collateral attack based on ineffective assistance of counsel is governed by

the two-pronged test set forth in Strickland v. Washington, 466 U.S. 668 (1984). To

prevail on this claim, a defendant must demonstrate, first, that trial counsel’s

representation fell below an objective level of reasonableness based on prevailing

professional norms and, second, that the deficient representation was prejudicial.

See id. at 687-88. Conclusory allegations are insufficient to entitle a defendant to

relief under Section 2255. See United States v. Thomas, 221 F.3d 430, 437 (3d Cir.

2000); Sepulveda v. United States, 69 F. Supp. 2d 633, 639-40 (D.N.J. 1999) (citing

Blackledge v. Allison, 431 U.S. 63 (1977)).

      In determining whether counsel has satisfied the objective standard of

reasonableness under the first prong, courts must be highly deferential toward

counsel’s conduct. Strickland, 466 U.S. at 689. There is a strong presumption that

counsel’s conduct falls within the wide range of reasonable professional assistance.

See United States v. Gray, 878 F.2d 702, 710 (3d Cir. 1989). Only a “rare claim” of

ineffectiveness of counsel should succeed “under the properly deferential standard

to be applied in scrutinizing counsel’s performance.” Id. at 711 (citing Strickland,

466 U.S. at 689-90). Counsel will not be deemed ineffective for failing to raise a

meritless claim. See United States v. Sanders, 165 F.3d 248, 253 (3d Cir. 1999).

      To satisfy the prejudice prong, the defendant must establish a reasonable

probability that, but for counsel’s errors, the outcome of the proceeding would have

been different. See Strickland, 466 U.S. at 694. The district court need not conduct

its analysis of the two prongs in a particular order or even address both prongs of


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the inquiry if the defendant makes an insufficient showing in one. See id. at 697;

United States v. Lilly, 536 F.3d 190, 196 (3d Cir. 2008).

             1.     Failure to Communicate Plea Offer

      Adigun first claims that trial counsel rendered ineffective assistance of

counsel by rejecting a government plea offer of 33 months prior to consulting him.

(Doc. 282 at 13). In support of this claim, Adigun supplies his own affidavit as well

as affidavits executed by his mother and sister, each attesting that counsel rejected

a 33-month plea offer from the government “[i]n or around May 2013.” (See Doc.

282-1, Exs. 1–3). The court cannot test the merits of this assertion on the present

record. Consequently, the court will defer resolution of this ground for Section 2255

relief pending an evidentiary hearing.

             2.     Failure to Appeal Sophisticated Money Laundering
                    Enhancement

      Adigun contends appellate counsel provided ineffective assistance by failing

to appeal the court’s application, over objection, of the two-level enhancement for

“sophisticated laundering” pursuant to U.S.S.G. § 2S1.1(b)(3) at sentencing. (Doc.

282 at 2-3; see also Doc. 291 at 5-7). Counsel’s strategic decisions are accorded

significant deference. Marshall v. Hendricks, 307 F.3d 36, 85 (3d Cir. 2002);

Parmelee v. Piazza, 622 F. Supp. 2d 212, 227 (M.D. Pa. 2008). Appellate counsel is

not required to advance every nonfrivolous claim, but rather may argue only certain

claims to maximize the chance of success on appeal. Johnson v. Tennis, 549 F.3d

296, 302 (3d Cir. 2008) (citing Smith v. Robbins, 528 U.S. 259, 288 (2000)). Generally,

the presumption of effective assistance will only be overcome when unraised issues



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are clearly stronger than those presented. See Smith, 528 U.S. at 288. At no point

does Adigun explain how this proposed claim is clearly stronger than the claim

raised on appeal. In the face of this court’s thorough ratio decidendi supporting

application of the sophisticated money laundering enhancement, (see Sent. Tr. 87:1-

88:24), the court cannot conclude that it was objectively unreasonable for appellate

counsel to refrain from raising this issue on appeal.

      Moreover, Adigun fails to demonstrate a reasonable probability that the

outcome would have been different even if appellate counsel had appealed the

court’s application of the sophisticated laundering enhancement. See Strickland,

466 U.S. at 694; see also Smith, 528 U.S. at 285-86. At sentencing, the court carefully

distinguished the facts underlying the sophisticated laundering enhancement from

those underlying the sophisticated means enhancement for fraud. (Sent. Tr. 88:7-

24). Adigun fails to articulate how the Third Circuit would have found clear error in

this reasoning. See United States v. Fish, 731 F.3d 277, 279-80 (3d Cir. 2013). Thus,

Adigun is not entitled to Section 2255 relief on this ground.

             3.     Failure to Object to Testimony of Expert Witness

      Adigun avers that trial counsel was ineffective in failing to object to a leading

question that resulted in government witness Agent Michael Hartman (“Hartman”)

“testifying as both an expert and fact witness with respect to whether some of

[Adigun’s] actions constituted money laundering.” (Doc. 282 at 4; see also Doc. 291

at 7-9). Adigun asserts that there is a reasonable probability that, but for trial

counsel’s failure to object to this question, the outcome of the trial would have been

different. (See Doc. 282 at 4; Doc. 291 at 9). The court disagrees.


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      First, trial counsel’s failure to object to the prosecution’s question does not

fall below an objective level of reasonableness based on prevailing professional

norms. See Strickland, 466 U.S. at 687-88. At trial, Hartman was qualified as an

expert in the “field of mass marketing fraud and money laundering as it relates

specifically to MoneyGram and Western Union.” (7/16/13 Trial Tr. 47:14-48:2). He

identified several “corrupt agent fraud indicators,” including “agent check

swapping,” as indicators of both fraud and money laundering. (See id. at 48:4-7,

54:1-18; 7/17/13 Trial Tr. 275:21-276:5). On the third day of trial, the prosecution

asked Hartman, as an expert witness, whether or not FAB Tax Services (“FAB”)

(the entity established by Adigun and his codefendants through which they

conducted their crimes) and Transcorp Consultants (“Transcorp”) (another

allegedly corrupt MoneyGram and Western Union agency) engaged in agent check

swapping in August and September of 2008. (See 7/17/13 Trial Tr. 266:9-267:12).

Hartman responded “Yes,” and explained the process of agent check swapping. (Id.

at 267:11-268:4). He testified that agent check swapping is a form of money

laundering. (Id. at 268:5-6). The prosecution then asked Hartman the leading

question at issue sub judice: whether agent check swapping was made possible in

this case “because FAB had room in its bank accounts . . . after they were shut

down to handle these cash withdrawals.” (Id. at 268:7-9). Hartman responded

affirmatively and stated generally that the FAB accounts were used to their

“greatest potential” while they were still active. (See id. at 268:10-18). Neither the

prosecution’s question nor Hartman’s response directly implicated Adigun or his




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mental state such that trial counsel’s failure to object fell below an objective level of

reasonableness.

      Second, assuming arguendo that trial counsel should have objected to the

prosecution’s question and further speculating that the court would have sustained

the objection and stricken Hartman’s response, the court cannot find that the

outcome of the trial would have been different. As previously stated:

             At trial, the government introduced substantial
             testimonial and documentary evidence establishing
             Adigun’s involvement in transferring and laundering
             profits from various mass marketing consumer fraud
             schemes. Based on the empty storefront, the lack of
             legitimate transactions, and the falsified payee identifier
             information, there is no indication that Adigun was a
             legitimate Western Union and MoneyGram agent. The
             government even presented evidence that Adigun
             personally converted over $1 million of the ill-gotten
             proceeds into cash by issuing money transfer checks and
             making substantial individual cash withdrawals. Adigun
             helped transfer funds to other accounts controlled by
             [defendant Benjamin] Chikwe and other co-conspirators,
             and a substantial amount of money was transferred
             offshore to Canada, Nigeria, and Romania. It is easy to
             infer Adigun’s knowledge of the illicit nature of his
             activities from this overwhelming amount of evidence.
             There is absolutely no danger that the jury convicted an
             innocent person in this case.

United States v. Adigun, 998 F. Supp. 2d 356, 369 (M.D. Pa. 2014) (Conner, C.J.),

aff’d on other grounds, 609 F. App’x 718. Trial counsel’s failure to object to the

prosecution’s question did not prejudice Adigun. The court finds no basis for

Section 2255 relief on this ground.




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             4.     Failure to Appeal Obstruction of Justice Enhancement

      Adigun’s third argument concenters upon appellate counsel’s failure to

appeal the court’s application of a two-level enhancement for obstruction of justice.

(Doc. 282 at 6; Doc. 291 at 11-12). The obstruction enhancement applies if “the

defendant willfully obstructed or impeded, or attempted to obstruct or impede, the

administration of justice with respect to the investigation, prosecution, or

sentencing of the instance offense.” U.S.S.G. § 3C1.1. Application Note 4 to Section

3C1.1 indicates that “committing, suborning, or attempting to suborn perjury”

constitutes obstruction of justice. Id. at cmt. n.4. A witness testifying under oath

commits perjury if he “gives false testimony concerning a material matter with the

willful intent to provide false testimony, rather than as a result of confusion,

mistake, or faulty memory.” United States v. Dunnigan, 507 U.S. 87, 94 (1993); see

also Pitts v. United States, 122 F. Supp. 3d 221, 237 (E.D. Pa. 2015). To apply the

two-level obstruction enhancement due to perjury, the court must “review the

evidence and make independent findings necessary to establish a willful

impediment to or obstruction of justice.” See Dunnigan, 507 U.S. at 95.

      At sentencing the court applied the two-level enhancement, over Attorney

Crisp’s objection, after independently finding that “Adigun’s testimony that he was

not aware of the fraudulent nature of the money he laundered was clearly false, it

was clearly material, and it was clearly willful.” (Sent. Tr. 85:24-86:5). Moreover, to

find Adigun guilty of conspiracy to commit mail and wire fraud, unlawful monetary

transactions, conspiracy to commit money laundering, and the laundering of money

instruments, the jury had to determine that Adigun “possessed knowledge of the


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unlawful nature of his conduct and underlying conspiracy’s illicit purpose.” (See id.

at 84:24-85:5). Appellate counsel’s failure to appeal the court’s application of the

two-level enhancement for obstruction of justice in the face of the independent

determinations made by the jury and by the court does not fall below an objective

level of reasonableness. See Pitts, 122 F. Supp. 3d at 238. Adigun therefore fails to

meet the first prong of Strickland.

             5.     Failure to Request Stay

      Adigun lastly argues that appellate counsel should have requested a stay

of his direct appeal in anticipation of the effective date of Amendment 792 to the

Sentencing Guidelines. (Doc. 282 at 7; Doc. 291 at 12-14). Assuming arguendo that

appellate counsel could have raised this argument as part of Adigun’s direct appeal

for a new trial, a request for a stay would have been fruitless. Amendment 792 does

not apply retroactively. See United States v. Brown, 694 F. App’x 62, 64 (3d Cir.

2017) (nonprecedential); United States v. Egwuekwe, 668 F. App’x 421, 422 (3d Cir.

2016) (nonprecedential).3 Thus, even if appellate counsel had requested a stay and

been granted same by the Third Circuit, Adigun’s sentence would not have

changed. Hence, Adigun fails to satisfy the prejudice prong of Strickland. See

Strickland, 466 U.S. at 694.




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        The court acknowledges that nonprecedential decisions are not binding
upon federal district courts. Citations to nonprecedential decisions herein reflect
that the court has considered the panel’s ratio decidendi and is persuaded by same.


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IV.   Conclusion

      The court will deny in part and defer in part Adigun’s motion (Doc. 282) to

vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255. An appropriate

order shall issue.



                                       /S/ CHRISTOPHER C. CONNER
                                       Christopher C. Conner, Chief Judge
                                       United States District Court
                                       Middle District of Pennsylvania

Dated:    January 24, 2018
